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 2   10 N Dearborn St. 3rd Floor
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 3   Tel: 323-988-2400 x235
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 4   magruss@consumerlawcenter.com
     Attorneys for Plaintiff,
 5   CRISTIAN MARTINEZ
 6                              UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
 7                                   WESTERN DIVISION
 8   CRISTIAN MARTINEZ,               ) Case No.: 2:11-cv-9997-JEM
                                      )
 9             Plaintiff,             ) NOTICE OF SETTLEMENT
                                      )
10       v.                           )
                                      )
11   CAVALRY PORTFOLIO SERVICES, LLC, )
                                      )
12             Defendant.             )
                                      )
13
            NOW COMES the Plaintiff, CRISTIAN MARTINEZ, by and through the undersigned
14
     counsel and hereby informs the court that a settlement of the present matter has been reached and
15
     is in the process of finalizing settlement, which Plaintiff anticipates will be finalized within the
16
     next 40 days.
17
            Plaintiff therefore requests that this honorable court vacate all dates currently set on
18
     calendar for the present matter.
19
                                            Respectfully Submitted,
20
     DATED: January 20, 2012                KROHN & MOSS, LTD.
21

22
                                            By: /s/ Michael S. Agruss                   _
23
                                                   Michael S. Agruss
24                                                 Attorney for Plaintiff
25

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                                             Notice of Settlement
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 1

 2                                   CERTIFICATE OF SERVICE
 3          I hereby certify that on January 20, 2012, I electronically filed the foregoing Notice of
 4
     Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was
 5
     electronically submitted by electronic mail to the following:
 6
            Penny Shemtob
 7
            pshemtob@Cavps.com
 8

 9

10
                                           By:    /s/ Michael S. Agruss _
11
                                                  Michael S. Agruss
12

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                                            Notice of Settlement
